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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION


RYAN WALKER and
OZARK MOTOR LINES, INC.                                                              Plaintiffs

v.                                                            Case No.: 3:20cv163-MPM-RP

BENTON COUNTY, MISSISSIPPI and
MICHAEL F. BROOKS,                                                                Defendants


                        ORDER OF DISMISSAL WITH PREJUDICE


       Before the Court is the Joint Stipulation of Dismissal With Prejudice as to Defendant

Michael F. Brooks’s (“Mr. Brooks”) Counterclaims against Plaintiffs Ryan Walker (“Mr.

Walker”) and Ozark Motor Lines, Inc. (“Ozark”), and as to Mr. Walker and Ozark’s Claims against

Mr. Brooks in his individual capacity only pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Mr. Walker, Ozark, and Mr. Brooks having reached a resolution of those claims

in this matter, those claims are hereby DISMISSED WITH PREJUDICE, with each party to bear

their own costs and attorneys’ fees.

       Mr. Walker and Ozark’s claims against Benton County and against Mr. Brooks in his

representative capacity as an employee/agent of Defendant Benton County, and Defendant Benton

County’s counterclaims against Mr. Walker and Ozark are not dismissed or otherwise impacted

by this Order of Dismissal with Prejudice.

       IT IS SO ORDERED this 19th day of October, 2020.

                                             /s/ Michael P. Mills
                                             UNITED STATES DISTRICT JUDGE
                                             NORTHERN DISTRICT OF MISSISSIPPI




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